Case 2:Ol-CV-02780-SHI\/|-STA Document 279 Filed 07/06/05 Page 1 of 3 Page|D 328

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FOR THE WESTERN DIsTRICT oF TENNESSEE '05JUL"6 PH ls= 113
WESTERN DIvIsIoN

  

 

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room
THE cLARK CONSTRUCTION GROUP, INC., W OFNLWNHW
Plaintiff,
vs. No. 01-2730-Ma

CI'I‘Y OF MEMPHIS and 'I‘HE MEMPHIS COOK
CONVENTION CENTER COMMISSION,

Defendants.

 

ORDER EXTENDING DEADLINE AND PAGE LIMI"I‘ATION

 

Before the court is the July l, 2005, unopposed motion by
plaintiff requesting an extension of the deadline to file
potentially dispositive motions, and requesting permission to
file potentially dispositive motions in excess of the Rule 7.2(e)
page limitation. For good cause shown, plaintiff's motion is
granted. The deadline for plaintiff's potentially dispositive
motions is as of the date of this order. Plaintiff may file its
Motion for Partial Summary Judgment Regarding Liquidated Damages,
and the memorandum in support thereof.

So ORDERED this c rfday of July, 2005.

MWWL`

SAMUEL H. MZ¥:¢.'Sl JR.
UNI'I'ED STATES DISTRIC'I‘ JUDGE

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

